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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF NEW YORK
                                                    )
In re:                                              )
                                                    )
 NUTMEG MUSIC INCORPORATED, d/b/a/
                               )                    )
 NUTMEG CREATIVE d/b/a/        )                    )
 NUTMEG AUDIO POST d/b/a/      )                    )
 NUTMEG POST d/b/a/                                 )      Case No. 18-12056 (SHL)
 NUTMEG RECORDING,             )                    )
                                                    )
                               Debtor.      )       )

  APPLICATION TO EMPLOY WELTMAN & MOSKOWITZ, LLP AS COUNSEL
TO DEBTOR AND DEBTOR-IN-POSSESSION NUNC PRO TUNC TO PETITION DATE

         Nutmeg Music, Incorporated d/b/a/ Nutmeg Creative d/b/a/ Nutmeg Audio Post d/b/a/

Nutmeg Post d/b/a/ Nutmeg Recording, the above-named debtor and debtor-in-possession

(“Applicant”), by and through this application, seeks the entry of an order authorizing Applicant

to employ Weltman & Moskowitz, LLP (“W&M”) as counsel to Applicant nunc pro tunc to the

Petition Date (as defined below). In support of the Application, W&M submits the declaration

of Richard E. Weltman, a partner at W&M (“Weltman Declaration”), and respectfully represents

as follows:

                                         BACKGROUND

         1.    On July 3, 2018 (“Petition Date”), Applicant filed a voluntary petition for

reorganization under chapter 11, title 11 of the United States Code (“Bankruptcy Code”) with the

United States Bankruptcy Court for the Southern District of New York (“Bankruptcy Court”).
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       2.      Applicant is authorized to operate its business as a debtor-in-possession pursuant

to sections 1107(a) and 1108 of the Bankruptcy Code.        No request for the appointment of a

trustee or an examiner has been made in this case and no statutory committees have been

appointed or designated.

                                    RELIEF REQUESTED

       3.      Applicant, as debtor-in-possession, seeks to employ W&M, as its bankruptcy

counsel under a general retainer in connection with the chapter 11 case. Accordingly, Applicant

respectfully requests entry of an order pursuant to sections 327(a), 328(a) and 330 of the

Bankruptcy Code, Rules 2014(a), 2016 and 5002 of the Federal Rules of Bankruptcy Procedure

(“Bankruptcy Rules”) and Rule 2014-1 of the Local Bankruptcy Rules for the Southern District

of New York (“Local Rules”), authorizing Applicant to employ and retain W&M as its counsel

to perform the legal services that will be necessary during this case, as summarized herein and in

the accompanying Weltman Declaration.

                                     BASIS FOR RELIEF

       4.      The firm, by its partners RICHARD E. WELTMAN, ESQ. and MICHAEL L.

MOSKOWITZ, ESQ., is duly admitted to practice before the United States District Court for the

Southern District of New York.

       5.      Applicant has selected the firm of W&M because the firm has had considerable

general experience in matters of this type involving debtor's rights and creditor remedies,

including insolvency and reorganization matters. Applicant accordingly believes that the firm of

W&M is well qualified to represent its interests as a debtor-in-possession in this proceeding.

       6.      The professional services that W&M has and will render include:

           (a) Furnishing to Applicant legal advice with respect to its powers and duties as a
debtor-in-possession in the continued management of its property.



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           (b) Preparing on behalf of Applicant as a debtor-in-possession the necessary petition,
schedules, statements, proposed orders, operating reports and other legal papers.

           (c) Drafting all necessary or appropriate motions, applications, answers, orders,
reports and other papers in connection with the administration of Applicant’s estate on behalf of
Applicant.

          (d) Performing all other legal services for Applicant as a debtor-in-possession which
may be necessary under the circumstances of this case.

            (e) Representing Applicant at the section 341 hearing and at all hearings scheduled
before this court.

           (f) Coordinating and acting as a liaison between the Applicant and the Office of the
United States Trustee, any creditor's committee, and all other parties in interest.

           (g) Negotiating with all other creditors, equity holders, and parties in interest
including governmental authorities, and preparing for consideration a Disclosure Statement and
proposed Plan of Reorganization.

          (h) Aiding Applicant in its efforts to obtain confirmation of such Plan of
Reorganization.

            (i) Taking such other and further action with the advice and consent of the debtor and
after such notice and hearing as may be necessary or appropriate for the benefit of the debtor, its
creditors or its estate.

        7.      In view of the foregoing, it is necessary for the debtor-in-possession to engage an

attorney sophisticated in bankruptcy matters to render appropriate professional services.

Applicant desires to employ W&M under a general retainer because of their expertise and the

extensive legal services believed to be required.

        8.      W&M will work closely with other professionals that may be retained by the

Applicant and will take whatever steps are necessary and appropriate to avoid any unnecessary

duplication of services with other professionals.

        9.      To the best of Applicant’s knowledge, W&M has no connection with Applicant,

its creditors or any other party in interest or their respective attorneys.




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         10.      W&M is believed to represent no interest adverse to Applicant as a debtor-in-

possession in the matters upon which it is to be engaged for Applicant as debtor-in-possession,

and the approval of its employment would therefore be in the best interest of this estate.

         11.      W&M intends to apply to the Court for allowances of compensation and

reimbursement of out-of-pocket expenses incurred on and after the Petition Date in connection

with this chapter 11 case on an hourly basis, subject to Court approval and in accordance with

the applicable provisions of the Bankruptcy Code, the Local Rules, the guidelines established by

the U.S. Trustee, and further orders of the Court.

         12.      Applicant seeks retention of W&M as its attorneys pursuant to Bankruptcy Code

sections 327(a)1 and 328(a),2 and Bankruptcy Rule 2014(a).3

         13.      Notice of this Application has been provided to (i) the Office of the United States

Trustee for the Southern District of New York; (ii) Citibank, N.A., Debtor’s secured lender; (iii)

the creditors holding the largest twenty (20) unsecured claims against the Debtor’s estate, as

identified in the Debtor’s chapter 11 petition; (iv) Debtor’s secured creditors; and (v) the parties

having filed a Notice of Appearance. In light of the nature of the relief requested herein and the

potential harm to the Debtor’s estate if the relief requested herein is not granted, Debtor

respectfully submits that no other or further notice need be provided.




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  Section 327(a) provides, in relevant part, that a debtor, subject to Court approval “may employ one or more
attorneys, accountants, appraisers, auctioneers, or other professional persons, that do not hold or represent an interest
adverse to the estate, and that are disinterested persons, to represent or assist the [debtor] in carrying out the
[debtor]’s
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           duties under this title.”
  Section 328(a) provides, in relevant part, that a debtor, subject to Court approval, may employ a professional
person “on any reasonable terms and conditions of employment, including on a retainer, on an hourly basis, on a
fixed
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      or percentage fee basis, or on a contingent fee basis.”
  Bankruptcy Rule 2014 states that an application for retention include “specific facts showing the necessity for the
employment, the name of the [firm] to be employed, the reasons for the selection, the professional services to be
rendered, any proposed arrangement for compensation, and, to the best of the applicant’s knowledge, all of the
[firm’s] connections with the debtor, creditors, any other party in interest, their respective attorneys and accountants,
the United Sates trustee, or any person employed in the office of the United States trustee.” Fed. R. Bankr. P.
2014(a).



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